                                                                         Case 2:21-cv-00406-MTL Document 22 Filed 04/15/21 Page 1 of 39



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                                                                       Attorneys for Defendant Bank of America, N.A.
                                                                   6
                                                                   7
                                                                   8                          IN THE UNITED STATES DISTRICT COURT
                                                                   9                                   FOR THE DISTRICT OF ARIZONA
                                                                  10
                                                                  11   James Bonham,                                      No. 2:21-cv-00406-MTL
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12                      Plaintiff,                      BANK OF AMERICA, N.A.’S
                                                                                                                          MOTION TO DISMISS
                                                                  13            v.
Snell & Wilmer
                       Phoenix , Arizona 85004-2 202




                                                                  14
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                                                                       Bank of America, N.A.,
                               602.382 .6000
                                     L.L.P.




                                                                  15                      Defendant.
                                                                  16
                                                                  17            Over two years after the occurrence of a foreclosure sale, plaintiff James Bonham
                                                                  18   (“Bonham”) has filed this action seeking to forestall the possession of the property by the
                                                                  19   real owners of record. Bonham focuses his tactic on an argument that he must be presented
                                                                  20   with a “wet ink” deed of trust, a requirement not recognized in Arizona. As this argument
                                                                  21   serves as the basis for his entire First Amended Complaint (“FAC”), defendant Bank of
                                                                  22   America National Association’s (“BANA”) motion to dismiss may be granted on this basis
                                                                  23   alone.
                                                                  24            However, Bonham has also failed to raise his contention prior to the foreclosure sale,
                                                                  25   thereby waiving his challenge. Further, the bulk of Bonham’s claims were brought up in
                                                                  26   prior lawsuits filed by Bonham, and adjudicated against him. As such, they are barred by
                                                                  27   the doctrine of res judicata. For all these reasons, Bonham has not, and cannot, assert a
                                                                  28
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                                                                    1   viable claim related to the foreclosure. As such, this Court should grant BANA’s motion
                                                                    2   with prejudice.
                                                                    3                     BACKGROUND AND PLAINTIFF’S ALLEGATIONS
                                                                    4          Bonham obtained a loan from Countrywide Bank in March 2005. FAC, ¶ 1. Rather
                                                                    5   than adhere to his contractual obligations – as attested to on this Court’s docket showing
                                                                    6   the list of related cases – Bonham began filing a series of meritless lawsuits and stall tactics.
                                                                    7          On October 30, 2013, Bonham filed a complaint against BANA, asserting that the
                                                                    8   debt was unenforceable pursuant to a “split-the-note” theory. The court, however, quickly
                                                                    9   found that such an argument was meritless, and entered an order granting BANA’s motion
                                                                   10   to dismiss on December 19, 2013. (See Dec. 19, 2013 Order, attached hereto as Exhibit A.)
                                                                   11   While Bonham appealed this decision, the United States Court of Appeals for the Ninth
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                                                                   12   Circuit affirmed the decision on June 22, 2016, and a mandate was filed on July 15, 2016.
                                                                   13   (See July 15, 2016 Mandate, attached hereto as Exhibit B.)
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                                                                   14          Undeterred, Bonham filed another lawsuit on November 3, 2016, restating his prior
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                                                                   15   “split-the-note” and “show me the note” theories, and adding a claim that BANA violated
                                                                   16   the Fair Debt Collections Practices Act (“FDCPA”), as well as a claim that he tendered a
                                                                   17   registered instrument to settle the account under the Uniform Commercial Code (“UCC”).
                                                                   18   As with the preceding matter, the court quickly returned a ruling granting BANA’s motion
                                                                   19   to dismiss, noting that his “split-the-note” and “show me the note” claims are both meritless
                                                                   20   and barred by the doctrine of res judicata, and that his additional claims are meritless. (See
                                                                   21   January 12, 2017 Order, attached hereto as Exhibit C.) Bonham once again appealed, and
                                                                   22   the decision was upheld on March 20, 2018, in a mandate filed on September 20, 2018.
                                                                   23   (See September 20, 2018 Mandate and prior Memorandum Decision, attached hereto as
                                                                   24   Exhibit D.)
                                                                   25          Following this most recent affirmation of the parties’ rights and obligations, BANA
                                                                   26   initiated a foreclosure by recording a Notice of Trustee’s Sale on October 11, 2018. (See
                                                                   27   Notice of Trustee’s Sale, attached hereto as Exhibit E.) Although the notice expressly stated
                                                                   28   that any objection to the sale must be made prior to the sale occurring, Bonham failed to

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                                                                          Case 2:21-cv-00406-MTL Document 22 Filed 04/15/21 Page 3 of 39



                                                                    1   produce any such objection. As such, the property was sold at a trustee’s sale on February
                                                                    2   19, 2019 to a third-party purchaser. (See Trustee’s Deed Upon Sale, attached hereto as
                                                                    3   Exhibit F.)
                                                                    4                                       LEGAL STANDARD
                                                                    5          To survive a motion to dismiss, a complaint must contain “enough facts to state a
                                                                    6   claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570
                                                                    7   (2007). “A claim has facial plausibility when the plaintiff pleads factual content that allows
                                                                    8   the court to draw the reasonable inference that the defendant is liable for the misconduct
                                                                    9   alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To survive a motion to dismiss, the
                                                                   10   factual allegations in a plaintiff’s complaint must sufficiently cross the line from merely
                                                                   11   “conceivable” to a level “plausibly suggesting” that the plaintiff is entitled to relief. Id.; see
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                                                                   12   also Ashcroft, 556 U.S. 662 (confirming that the “plausibility standard” cited in Twombly
                                                                   13   applies to pleadings in civil actions generally). While all allegations of material fact are
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                                                                   14   taken as true, Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009), conclusory
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                                                                   15   allegations and unwarranted inferences, however, are insufficient to defeat a motion to
                                                                   16   dismiss. See Sanders v. Brown, 504 F.3d 903, 910 (9th Cir. 2007).
                                                                   17                                      LEGAL ARGUMENT
                                                                   18          1.     Bonham’s Claims Are Barred By Res Judicata.
                                                                   19          “Res judicata applies when ‘the earlier suit . . . (1) involved the same ‘claim’ or cause
                                                                   20   of action as the later suit, (2) reached a final judgment on the merits, and (3) involved
                                                                   21   identical parties or privies.’” Mpoyo v. Litton Electro-Optical Sys., 430 F.3d 985, 987 (9th
                                                                   22   Cir. 2005), citing Sidhu v. Flecto Co., 279 F.3d 896, 900 (9th Cir. 2002); see also Gatecliff
                                                                   23   v. Great Republic Life Ins. Co., 154 Ariz. 502, 506, 744 P.2d 29, 33 (1987) (“A 12(b)(6)
                                                                   24   dismissal . . . disposes of the merits and takes res judicata effect.”); Chaney Bldg. Co. v.
                                                                   25   City of Tucson, 148 Ariz. 571, 573, 716 P.2d 28, 30 (1986) (“Under the doctrine of res
                                                                   26   judicata, a judgment ‘on the merits’ in a prior suit involving the same parties or their privies
                                                                   27   bars a second suit based on the same cause of action.”).
                                                                   28

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                                                                    1          Bonham’s current claims are based upon his demand that BANA “‘prove-up’ the
                                                                    2   debt by presenting the original ‘wet-signed’ Mortgage and Deed-of-Trust for examination,
                                                                    3   as well as a number of references to purported claims under the FDCPA stemming from
                                                                    4   correspondences which Bonham sent to BANA. (FAC at ¶¶ 2, 4 & 5.) These claims,
                                                                    5   however, have already been resolved.
                                                                    6          Bonham’s “wet-signed” theory was put forth in his 2013 lawsuit, which was
                                                                    7   dismissed on December 19, 2013. (Ex. A.) In affirming this decision, the Ninth Circuit
                                                                    8   noted that “defendant was not required to show Bonham the note or otherwise prove its
                                                                    9   authority to foreclose.” Bonham v. Bank of Am., N.A., 667 F. App'x 179, 179 (9th Cir.
                                                                   10   2016), unpublished; citing Hogan v. Wash. Mutual Bank, N.A., 230 Ariz. 584, 277 P.3d 781,
                                                                   11   781 (Ariz. 2012) (“We hold that Arizona’s non-judicial foreclosure statutes do not require
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                                                                   12   the beneficiary to prove its authority or ‘show the note’ before the trustee may commence
                                                                   13   a non-judicial foreclosure.”).
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                                                                   14          While Bonham reasserted these claims in his 2016 lawsuit, they were once again
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                                                                   15   dismissed, this time on the ground that they were barred by the doctrine of res judicata. (Ex.
                                                                   16   C.) In affirming this latest decision, the appellate court noted that the claims were “barred
                                                                   17   by the doctrine of res judicata because these claims were raised, or could have been raised,
                                                                   18   in Bonham’s prior action between the same parties that resulted in a final judgments on the
                                                                   19   merits.” Bonham v. Bank of Am., N.A., 715 F. App'x 701, 701 (9th Cir. 2018), unpublished,
                                                                   20   citing Mpoyo, 430 F.3d at 987 (setting forth res judicata elements and requirements for
                                                                   21   identity of claims), and Stewart v. U.S. Bancorp, 297 F.3d 953, 956 (9th Cir. 2002) (res
                                                                   22   judicata prohibits lawsuits on claims that were raised or could have been raised in prior
                                                                   23   action).
                                                                   24          Bonham also asserted claims against BANA under the FCDPA and UCC through his
                                                                   25   2016 lawsuit, which were likewise dismissed – and subsequently affirmed on the ground
                                                                   26   that “Dismissal of Bonham's Fair Debt Collection Practices Act and Uniform Commercial
                                                                   27   Code claims was proper because Bonham failed to allege facts sufficient to state a plausible
                                                                   28   claim.” Id.

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                                                                    1          As Bonham has provided no new theory for relief – one that was not or could not
                                                                    2   have been raised in the prior lawsuits – then his claims against BANA are now barred by
                                                                    3   the doctrine of res judicata. Accordingly, this Court should grant BANA’s motion in its
                                                                    4   entirety.
                                                                    5          2.     Bonham Waived Any Objection To The Sale.
                                                                    6          While not mentioned in Bonham’s FAC, the sale has already occurred. (Exs. E &
                                                                    7   F.) Bonham, however, failed to seek any injunction or otherwise object to the sale prior to
                                                                    8   its occurrence. The failure to do so thus “waive[d] all defenses and objections to the sale
                                                                    9   not raised in an action that results in the issuance of a court order granting relief pursuant
                                                                   10   to Rule 65, Arizona Rules of Civil Procedure, entered before 5:00 p.m. mountain standard
                                                                   11   time on the last business day before the scheduled date of the sale.” ARS § 33-811(C).
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                                                                   12          While the statute, and resulting judicial decisions, decline to establish any actual
                                                                   13   claim for wrongful foreclosure, the “specific ‘wrongful foreclosure’ allegations would
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                                                                   14   remain subject to the statutory requisites of A.R.S. § 33-811(C) and [are] thus barred for
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                                                                   15   failing to seek the required injunctive relief.” Zubia v. Shapiro, 243 Ariz. 412, 414, ¶ 10,
                                                                   16   408 P.3d 1248, 1250 (2018). Accordingly, “[e]ven assuming Arizona recognizes a cause
                                                                   17   of action for wrongful foreclosure, [Plaintiffs cannot] show [their] claim [is] not precluded
                                                                   18   by § 33-811(C).” Id.
                                                                   19          3.     Bonham’s Theories Are Meritless.
                                                                   20          As mentioned in the prior ruling dismissing Bonham’s claims, there is no
                                                                   21   requirement to show Bonham the note prior to conducting a foreclosure sale. Hogan v.
                                                                   22   Wash. Mutual Bank, N.A, 230 Ariz. at 584, 277 P.3d at 781. As to his assertions under the
                                                                   23   FDCPA, they have likewise already been dismissed due to lack of merit.
                                                                   24          By its own terms, the FDCPA does not apply to: “any person collecting or attempting
                                                                   25   to collect any debt owed or due or asserted to be owed or due another to the extent such
                                                                   26   activity. . . (ii) concerns a debt which was originated by such person. . . .” 15 U.S.C.
                                                                   27   1692a(6)(F); see also Mansour v. Cal-Western Reconveyance Corp., 618 F.Supp.2d 1178,
                                                                   28   1182 (D. Ariz. 2009) (“Creditors and their fiduciaries are not ‘debt collectors’ subject to the

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                                                                    1   FDCPA”); Diessner v. Mortgage Electronic Registration Systems, 618 F.Supp.2d 1184,
                                                                    2   1188 (D. Ariz. 2009) (“While the Ninth Circuit has not specifically addressed the issues of
                                                                    3   whether mortgagees and their assignees are ‘debt collectors’ and whether non-judicial
                                                                    4   foreclosure actions constitute debt collection under the FDCPA, other courts have addressed
                                                                    5   the issues. The Fifth Circuit has held that mortgagees and their beneficiaries are not debt
                                                                    6   collectors subject to the FDCPA. The legislative history of the FDCPA also supports the
                                                                    7   position that mortgagees and their assignees, including mortgage servicing companies, are
                                                                    8   not debt collectors under the FDCPA when the debts were not in default when taken for
                                                                    9   servicing.”) (internal footnotes omitted). As BANA merged with Countrywide – the entity
                                                                   10   that originated the loan – BANA cannot be considered a debt collector for the purposes of
                                                                   11   the FDCPA.
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                                                                   12          Further, any claim under the FDCPA must be brought forth within one year of the
                                                                   13   alleged violation. 15 U.S.C. § 1692k(d). Not only do all the correspondences cited to in
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                                                                   14   the FAC which Bonham purports to use as the basis of his claim fall far outside the statute
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                                                                   15   of limitations, but the sale of the property itself occurred more than one year prior to the
                                                                   16   lawsuit being filed. Accordingly, any claim under the FDCPA regarding the debt would be
                                                                   17   time-barred.
                                                                   18                                        CONCLUSION
                                                                   19          For the aforementioned reasons, Bonham has not and cannot state a claim against
                                                                   20   BANA. Accordingly, this Court should grant BANA’s motion, and dismiss it from this
                                                                   21   action with prejudice.
                                                                   22          DATED this 15th day of April, 2021.
                                                                   23                                                      SNELL & WILMER L.L.P.
                                                                   24
                                                                   25                                                  By: /s/ Daniel J. Inglese
                                                                                                                           Gregory J. Marshall
                                                                   26                                                      Daniel J. Inglese
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                                                                                                                           Attorneys for Defendant Bank of
                                                                   28                                                      America, N.A.

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                                                                    1                                  CERTIFICATE OF SERVICE
                                                                    2            I hereby certify that I electronically transmitted the attached document to the Clerk’s
                                                                    3   Office using the CM/ECF System for filing, and for transmittal of a Notice of Electronic
                                                                    4   Filing to the following CM/ECF Registrants, and mailed a copy of same to the following if
                                                                    5   non-registrants on this 15th day of April, 2021:
                                                                    6   James Bonham
                                                                        6943 W Planada Lane
                                                                    7   Glendale, AZ 85310
                                                                        jbonham16@cox.net
                                                                    8
                                                                    9                                                       /s/ Martin Lucero
                                                                   10
                                                                        4816-6934-1157.2
                                                                   11
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                                                                       Attorneys for Defendant Bank of America, N.A.
                                                                   6
                                                                   7
                                                                                            IN THE UNITED STATES DISTRICT COURT
                                                                   8
                                                                                                     FOR THE DISTRICT OF ARIZONA
                                                                   9
                                                                  10   James Bonham,                                   No. 2:21-cv-00406-MTL
                                                                  11                    Plaintiff,                     BANK OF AMERICA, N.A.’S
                                                                                                                       CERTIFICATE OF GOOD-FAITH
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12         v.                                        CONFERRAL
                                                                  13
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                       Phoenix , Arizona 85004-2 202




                                                                       Bank of America, N.A.,
                                                                  14
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                                                                                        Defendant.
                                     L.L.P.




                                                                  15
                                                                             Defendant Bank of America N.A. certifies that they notified plaintiff James Bonham
                                                                  16
                                                                       of the issues asserted in this motion. Undersigned counsel sent Bonham a letter on March
                                                                  17
                                                                       23 explaining the deficiencies in his Complaint. They had subsequent telephone discussions
                                                                  18
                                                                       and email exchanges regarding the Complaint and were unable to agree that the Complaint
                                                                  19
                                                                       could be cured by amendment.
                                                                  20
                                                                  21         DATED this 15th day of April, 2021.

                                                                  22                                                     SNELL & WILMER L.L.P.

                                                                  23
                                                                  24                                                 By: /s/ Daniel J. Inglese
                                                                                                                         Gregory J. Marshall
                                                                  25                                                     Daniel J. Inglese
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                                                                                                                         Attorneys for Defendant Bank of
                                                                  27                                                     America, N.A.

                                                                  28
                                                                         Case 2:21-cv-00406-MTL Document 22 Filed 04/15/21 Page 9 of 39



                                                                   1                                CERTIFICATE OF SERVICE
                                                                   2          I hereby certify that I electronically transmitted the attached document to the Clerk’s
                                                                   3   Office using the CM/ECF System for filing, and for transmittal of a Notice of Electronic
                                                                   4   Filing to the following CM/ECF Registrants, and mailed a copy of same to the following if
                                                                   5   non-registrants on this 15th day of April, 2021:
                                                                   6   James Bonham
                                                                       6943 W Planada Lane
                                                                   7   Glendale, AZ 85310
                                                                       jbonham16@cox.net
                                                                   8
                                                                   9                                                      /s/ Martin Lucero
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                                                                  11
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           EXHIBIT A
      Case
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 1
 2
 3                                      NOT FOR PUBLICATION
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   James Will Bonham,                                  No. CV-13-02220-PHX-SRB
10                         Plaintiff,                    ORDER
11   v.
12   Bank of America NA, et al.,
13                         Defendants.
14          At issue is Defendant Bank of America, N.A.’s Motion to Dismiss (“MTD”) (Doc.
15   11).
16   I.     BACKGROUND
17          Plaintiff, appearing pro se, brings this lawsuit to quiet title to a home that he
18   purchased by borrowing money from and executing a deed of trust in favor of
19   Countrywide Bank, which is now Bank of America. (Doc. 1, Pl.’s Verified Compl. in
20   Supp. of this Action-at-Law for “Quiet Title” Only (“Compl.”) ¶ 10.) Plaintiff alleges that
21   Countrywide sold, assigned, or otherwise transferred the loan obligation to another party,
22   but did not transfer the deed of trust. (See id. ¶¶ 11-12.) Plaintiff asserts that due to this
23   “bifurcation” either the deed of trust was voided (thereby invalidating Bank of America’s
24   ability to initiate a trustee’s sale) or the debt was satisfied by the sale of loan obligation to
25   a third party in an attempt to securitize the debt. (See id. ¶¶ 15-21.) Plaintiff makes no
26   allegation that he has paid the loan obligation in full and Defendant asserts that he has
27   not. (MTD at 2.) Defendant moves to dismiss Plaintiff’s Complaint with prejudice
28   because Plaintiff has not and cannot state a cause of action. (Id. at 1, 6.)
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 1   II.    LEGAL STANDARDS AND ANALYSIS
 2          A Rule 12(b)(6) dismissal for failure to state a claim can be based on either (1) the
 3   lack of a cognizable legal theory or (2) insufficient facts to support a cognizable legal
 4   claim. Conservation Force v. Salazar, 646 F.3d 1240, 1242 (9th Cir. 2011), cert. denied,
 5   Blasquez v. Salazar, 132 S. Ct. 1762 (2012). Courts must consider all well-pleaded
 6   factual allegations as true and interpret them in the light most favorable to the plaintiff.
 7   Schlegel v. Wells Fargo Bank, NA, 720 F.3d 1204, 1207 (9th Cir. 2013). “[A] well-
 8   pleaded complaint may proceed even if it strikes a savvy judge that actual proof of those
 9   facts is improbable, and ‘that a recovery is very remote and unlikely.’” Bell Atl. Corp. v.
10   Twombly, 550 U.S. 544, 556 (2007) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236
11   (1974)). However, “for a complaint to survive a motion to dismiss, the non-conclusory
12   ‘factual content,’ and reasonable inferences from that content, must be plausibly
13   suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d
14   962, 969 (9th Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). In other
15   words, the complaint must contain enough factual content “to raise a reasonable
16   expectation that discovery will reveal evidence” of the claim. Twombly, 550 U.S. at 556.
17          A.     Bifurcation
18          Defendant argues that Plaintiff’s “bifurcation” theory fails because Plaintiff has
19   not pled facts sufficient to establish that the deed of trust and promissory note have
20   actually been bifurcated nor could he make such allegations. (MTD at 4-5.) This Court
21   has rejected this bifurcation theory on numerous occasions in recent years. See, e.g., Bean
22   v. BAC Home Loans Servicing, L.P., No. CV-11-553-PHX-GMS, 2012 WL 171435, at *1
23   (D. Ariz. Jan. 20, 2012); In re Mortgage Elec. Registration Sys. (MERS) Litig., 744 F.
24   Supp. 2d 1018, 1026-27 (D. Ariz. 2010) (“MERS Litig.”); Ciardi v. Lending Co., Inc.,
25   No. CV 10-0275-PHX-JAT, 2010 WL 2079735, at *3 (D. Ariz. May 24, 2010). In those
26   cases, the Court has explained that when MERS is named as the “nominee” for the
27   original lender and the lender’s successors and assigns in a deed of trust, the deed of trust
28   and the promissory note are not bifurcated due to a later sale of the promissory note to a


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     Case
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 1   different party for securitization purposes. See, e.g., MERS Litig., 744 F. Supp. 2d at
 2   1026-27. Plaintiff attached a copy of the deed of trust to his Complaint, which states that
 3   “MERS is a separate corporation that is acting solely as a nominee for Lender and
 4   Lender’s successors and assigns.” (Compl., Attach. 3 at 2.) Consequently, the Court
 5   rejects Plaintiff’s bifurcation theory because “Plaintiff[] [has] failed to allege any facts
 6   suggesting that MERS is not the nominee of the current owner of the promissory note;
 7   nor [does] Plaintiff[] allege any facts supporting [his] assertion that the promissory note
 8   and the deed of trust have been bifurcated.” See MERS Litig., 744 F. Supp. 2d at 1027.
 9          B.     Satisfaction
10          Defendant argues that Plaintiff’s assertion that his debt was satisfied by the
11   transfer of the promissory note through the securitization process fails because those
12   transfers affected only who was entitled to Plaintiff’s payments, not his liability for those
13   payments. (MTD at 6.) Plaintiff alleges merely that the promissory note was “‘Sold’ for
14   the full value, plus.” (Compl. ¶ 20.) This allegation is too vague to support a cause of
15   action because it does not identify who sold and purchased the note or how that sale
16   would affect Plaintiff’s obligations. Furthermore, it is clear from the context of Plaintiff’s
17   Complaint that Plaintiff is referring to the transfers of the note through the securitization
18   process. (See id. ¶¶ 10-20.) The Court therefore rejects Plaintiff’s assertion because those
19   transfers had no effect on his liability to continue making payments on the note. See
20   Albritton v. Tiffany & Bosco, P.A., No. CV 12-924-TUC-HCE, 2013 WL 3153848, at *8
21   (D. Ariz. June 19, 2013) (“Securitization merely creates a separate contract, distinct from
22   plaintiffs’ debt obligations under the note, and does not change the relationship of the
23   parties in any way.” (internal quotation marks omitted and alterations incorporated)).
24          C.     Quiet Title
25          Although Plaintiff asserts only the two theories discussed above, he has titled his
26   cause of action one to “quiet title” to property, so the Court considers the requirements of
27   a cause of action to quiet title as well. (See Compl. ¶ 6.) A mortgagor cannot move to
28   quiet title “until and unless he pays off [the] mortgage lien.” Farrell v. West, 114 P.2d


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 1   910, 911 (Ariz. 1941); see also Robertson v. DLJ Mortg. Capital, Inc., No. CV-12-8033-
 2   PCT-LOA, 2012 WL 4840033, at *8 (D. Ariz. Oct. 11, 2012) (“It is well established in
 3   Arizona that a plaintiff cannot bring a quiet title action unless she has paid off her
 4   mortgage in full.” (internal quotation marks omitted)). Because Plaintiff has not alleged
 5   that he has paid the note in full, he cannot quiet title at this time. See Farrell, 114 P.2d at
 6   911.
 7   III.   CONCLUSION
 8          The Court dismisses Plaintiff’s Complaint because it does not state a cause of
 9   action. Unless Plaintiff has paid his debt in full, he has no right to quiet title to the
10   property securing the deed of trust.
11          IT IS ORDERED granting Defendant Bank of America, N.A.’s Motion to
12   Dismiss (Doc. 11).
13          IT IS FURTHER ORDERED denying Plaintiffs’ [sic] Motion for Preliminary
14   Injunction, Ex Parte (Doc. 6) as moot.
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16          Dated this 19th day of December, 2013.
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           EXHIBIT B
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                                                  United States Court of Appeals for the Ninth Circuit

Notice of Docket Activity

The following transaction was entered on 07/15/2016 at 5:14:24 PM PDT and filed on 07/15/2016

 Case Name:   James Bonham v. Bank of America, N.A., et al
 Case Number: 14-15045
 Document(s): Document(s)


Docket Text:
MANDATE ISSUED. (CTB, PJW and MTF) [10052409] (Roberts, Rhonda)

Notice will be electronically mailed to:

Gregory B. Iannelli
Mr. Sean Keenan McElenney, Attorney
Mr. Eric M. Moores, Attorney
USDC, Phoenix


Case participants listed below will not receive this electronic notice:


James Will Bonham
6943 W Planada Ln.
Glendale, AZ 85310

The following document(s) are associated with this transaction:
Document Description: Mandate Order
Original Filename: /opt/ACECF/live/forms/RhondaRoberts_1415045_10052409_v2Order-Mandate_216.pdf
Electronic Document Stamp:
[STAMP acecfStamp_ID=1106763461 [Date=07/15/2016] [FileNumber=10052409-0]
[75f8e4e0d525c4b7be2283447611e67d23e32859e8c671d89e88ce25c155006e971dd3336ff229f15c9018fd40ccf4fd3e3153907cd3ff9c75b52731a16d1841]]
Recipients:

    •   James Will Bonham
    •   Gregory B. Iannelli
    •   Mr. Sean Keenan McElenney, Attorney
    •   Mr. Eric M. Moores, Attorney
    •   USDC, Phoenix

The following information is for the use of court personnel:


DOCKET ENTRY ID: 10052409
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 11621409




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 1                                   NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   James Will Bonham,                                No. CV-16-03822-PHX-JJT
10                 Plaintiff,                          ORDER
11   v.
12   Bank of America NA, et al.,
13                 Defendants.
14
15          At issue is Defendant Bank of America NA’s Motion to Dismiss (Doc. 17, Mot.),
16   to which pro se Plaintiff James Will Bonham filed a Response (Doc. 19, Resp.) and
17   Defendant filed a Reply (Doc. 27, Reply). The Court finds this matter appropriate for
18   decision without oral argument. See LRCiv 7.2(f).
19          Federal Rule of Civil Procedure 12(b)(6) is designed to “test[] the legal sufficiency
20   of a claim.” Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). A dismissal under Rule
21   12(b)(6) for failure to state a claim can be based on either (1) the lack of a cognizable
22   legal theory or (2) insufficient facts to support a cognizable legal claim. Balistreri v.
23   Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990). A complaint must contain more
24   than “labels and conclusions” or a “formulaic recitation of the elements of a cause of
25   action;” it must contain factual allegations sufficient to “raise a right to relief above the
26   speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). While “a
27   complaint need not contain detailed factual allegations [] it must plead ‘enough facts to
28   state a claim to relief that is plausible on its face.’” Clemens v. DaimlerChrysler Corp.,
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 1   534 F.3d 1017, 1022 (9th Cir. 2008) (quoting Twombly, 550 U.S. at 570). “A claim has
 2   facial plausibility when the plaintiff pleads factual content that allows the court to draw
 3   the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft
 4   v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556). The plausibility
 5   standard “asks for more than a sheer possibility that a defendant has acted unlawfully.”
 6   Id.
 7          When analyzing a complaint under Rule 12(b)(6), “[a]ll allegations of material
 8   fact are taken as true and construed in the light most favorable to the nonmoving party.”
 9   Smith, 84 F.3d at 1217. However, legal conclusions couched as factual allegations are not
10   given a presumption of truthfulness, and “conclusory allegations of law and unwarranted
11   inferences are not sufficient to defeat a motion to dismiss.” Pareto v. FDIC, 139 F.3d
12   696, 699 (9th Cir. 1998).
13          In ruling upon a motion to dismiss, the court may consider only the complaint, any
14   exhibits properly included in the complaint, and matters that may be judicially noticed
15   pursuant to Federal Rule of Evidence 201. See Mir v. Little Co. of Mary Hosp., 844 F.2d
16   646, 649 (9th Cir. 1988); Isuzu Motors Ltd. v. Consumers Union of U.S., Inc., 12 F. Supp.
17   2d 1035, 1042 (C.D. Cal. 1998). The court may take judicial notice of facts “not subject
18   to reasonable dispute” because they are either: “(1) generally known within the territorial
19   jurisdiction of the trial court or (2) capable of accurate and ready determination by resort
20   to sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201; see also
21   Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (noting that the court may
22   take judicial notice of undisputed “matters of public record”). The court may disregard
23   allegations in a complaint that are contradicted by matters properly subject to judicial
24   notice. Daniels–Hall v. Nat'l Educ. Ass'n, 629 F.3d 992, 998 (9th Cir. 2010).
25          In its Motion to Dismiss, Defendant first argues that the issues and factual
26   allegations presented in Counts I and II of Plaintiff’s Complaint (Doc. 1, Compl.) were
27   already litigated between these parties to a final judgment on the merits and are therefore
28   barred by the doctrine of res judicata. (Mot. at 4-5.) As the Court already indicated in its


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 1   prior Order (Doc. 3), the Court agrees. Plaintiff raised the same issues contained in
 2   Counts I and II against Defendant in a prior action, and this Court entered a final
 3   judgment on the merits that was affirmed by the Ninth Circuit Court of Appeals. Plaintiff
 4   did not provide the Court with any legal justification for raising the same issues before
 5   the Court again—indeed he makes no legal argument in response to Defendant’s res
 6   judicata argument (see Resp. at 2)—and the Court must therefore dismiss Counts I and II
 7   of the Complaint with prejudice. See Tahoe Sierra Preservation Council Inc. v. Tahoe
 8   Regional Planning Agency, 322 F.3d 1064, 1078 (9th Cir. 2003).
 9          Defendant next moves to dismiss Count III of Plaintiff’s Complaint, which
10   attempts to raise a claim under the Fair Debt Collections Practices Act (FDCPA). (Mot. at
11   5-6.) This District has consistently concluded that mortgagees and their assignees are not
12   debt collectors for the purposes of the FDCPA. See, e.g., Diessner v. Mortg. Elec.
13   Registrations Sys., 618 F. Supp. 2d 1184, 1188 (D. Ariz. 2009). As the Court found in the
14   previous litigation and the judicially-noticed documents provided by Defendant confirm
15   in this case, Defendant is the successor in interest to the party that originated the loan
16   underlying Plaintiff’s claim. As a result, Plaintiff has no cause of action under the
17   FDCPA against Defendant in this case, and the Court must dismiss Count III with
18   prejudice.
19          Finally, Defendant moves to dismiss Count IV of Plaintiff’s Complaint, which
20   attempts to raise a claim under the Uniform Commercial Code (UCC) based on an
21   allegation that Plaintiff “tendered a properly registered instrument for satisfaction of the
22   alleged obligation in favor of Defendant.” (Mot. at 6; Compl. at 10; see also Doc. 12,
23   “Plaintiff’s Notice of Offer to (Alleged) Trustee and Additional Evidence.”) The Note
24   and Deed underlying Plaintiff’s claim and attached to the Complaint state that Plaintiff
25   agrees to make all payments “in the form of cash, check or money order.” The “properly
26   registered instrument” for satisfaction of the Note to which Plaintiff refers in Count IV
27   (Docs. 1, 12), and which the Court properly takes judicial notice of, is not in the form of
28   cash, check or money order, and it therefore cannot satisfy Plaintiff’s obligations under


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 1   the Note by the Note’s explicit terms. Without valid tender, Count IV has no merit, and
 2   the Court must dismiss it with prejudice.
 3          IT IS THEREFORE ORDERED granting Defendant Bank of America NA’s
 4   Motion to Dismiss (Doc. 17) and dismissing Plaintiff’s claims against Defendant with
 5   prejudice.
 6          IT IS FURTHER ORDERED directing the Clerk of Court to enter judgment
 7   accordingly and close this case.
 8          Dated this 12th day of January, 2017.
 9
10
                                          Honorable John J. Tuchi
11                                        United States District Judge
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           EXHIBIT D
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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                     SEP 20 2018
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                                                                    U.S. COURT OF APPEALS




 JAMES WILL BONHAM,                            No. 17-15256

               Plaintiff - Appellant,
                                               D.C. No. 2:16-cv-03822-JJT
   v.                                          U.S. District Court for Arizona,
                                               Phoenix
 BANK OF AMERICA, N.A., a
 corporation and UNKNOWN PARTIES,              MANDATE
 named as John and/or Jane Does I-X,

               Defendants - Appellees.


        The judgment of this Court, entered March 20, 2018, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

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                                               Ninth Circuit Rule 27-7
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                     UNITED STATES COURT OF APPEALS                     FILED
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                                                                      U.S. COURT OF APPEALS
JAMES WILL BONHAM,                                No. 17-15256

                 Plaintiff-Appellant,             D.C. No. 2:16-cv-03822-JJT
                                                  District of Arizona,
  v.                                              Phoenix

BANK OF AMERICA, N.A., a corporation;             ORDER
UNKNOWN PARTIES, named as John
and/or Jane Does I-X,

                 Defendants-Appellees.

Before:      LEAVY, M. SMITH, and CHRISTEN, Circuit Judges.

       We treat Bonham’s “Motion to Vacate Memorandum” (Docket Entry No.

54) as a petition for panel rehearing, and deny the petition.

       To the extent that Bonham’s filing (Docket Entry No. 53) requests relief

from this court, it is denied.

       No further filings will be entertained in this closed case.
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                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

JAMES WILL BONHAM,                              No. 17-15256

                Plaintiff-Appellant,            D.C. No. 2:16-cv-03822-JJT

 v.
                                                MEMORANDUM*
BANK OF AMERICA, N.A., a corporation;
UNKNOWN PARTIES, named as John
and/or Jane Does I-X,

                Defendants-Appellees.

                   Appeal from the United States District Court
                            for the District of Arizona
                   John Joseph Tuchi, District Judge, Presiding

                            Submitted March 13, 2018**

Before:      LEAVY, M. SMITH, and CHRISTEN, Circuit Judges.

      James Will Bonham appeals pro se from the district court’s judgment

dismissing his action alleging federal and state law claims arising from foreclosure

proceedings. We have jurisdiction under 28 U.S.C. § 1291. We review de novo.



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
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Zadrozny v. Bank of N.Y. Mellon, 720 F.3d 1163, 1167 (9th Cir. 2013) (dismissal

under Fed. R. Civ. P. 12(b)(6)); Mpoyo v. Litton Electro-Optical Sys., 430 F.3d

985, 987 (9th Cir. 2005) (dismissal on basis of res judicata). We may affirm on

any basis supported by the record. Kirkpatrick v. County of Washoe, 843 F.3d 784,

790 (9th Cir. 2016) (en banc). We affirm.

      The district court properly dismissed Bonham’s claims for “lack of

standing” and breach of contract as barred by the doctrine of res judicata because

these claims were raised, or could have been raised, in Bonham’s prior action

between the same parties that resulted in a final judgments on the merits. See

Mpoyo, 430 F.3d at 987 (setting forth res judicata elements and requirements for

identity of claims); Stewart v. U.S. Bancorp, 297 F.3d 953, 956 (9th Cir. 2002) (res

judicata prohibits lawsuits on claims that were raised or could have been raised in

prior action).

      Dismissal of Bonham’s Fair Debt Collection Practices Act and Uniform

Commercial Code claims was proper because Bonham failed to allege facts

sufficient to state a plausible claim. See Hebbe v. Pliler, 627 F.3d 338, 341-42 (9th

Cir. 2010) (although pro se pleadings are liberally construed, a plaintiff must allege

facts sufficient to state a plausible claim).

      The district court did not abuse its discretion by dismissing Bonham’s

complaint without leave to amend because amendment would be futile. See


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Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1041 (9th Cir. 2011)

(setting forth standard of review and explaining that dismissal without leave to

amend is proper when amendment would be futile).

      Because we affirm the district court’s dismissal of the complaint, we do not

consider whether the denials of Bonham’s requests for preliminary injunctions

were proper. See Santa Monica Nativity Scenes Comm. v. City of Santa Monica,

784 F.3d 1286, 1291 n.1 (9th Cir. 2015) (“Because we affirm the district court’s

Rule 12(b)(6) dismissal of the complaint, . . . we need not separately address the

question whether the denial of the [plaintiff’s] motion for a preliminary injunction

was proper.”).

      We do not consider documents or facts not presented to the district court.

See United States v. Elias, 921 F.2d 870, 874 (9th Cir. 1990) (“Documents or facts

not presented to the district court are not part of the record on appeal.”).

      Bonham’s requests, set forth in his opening brief, are denied.

      Bonham’s motion to take judicial notice (Docket Entry No. 18) is denied.

      Bonham’s opposed motions to file a supplemental opening brief (Docket

Entry Nos. 29, 30) are granted. Bonham’s requests contained within Docket Entry

No. 36 are denied. The Clerk shall file Bonham’s supplemental opening brief

submitted at Docket Entry No. 23.

      AFFIRMED.


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